             Case 5:11-cr-50115-TLB Document 138                                  Filed 10/29/15 Page 1 of 1 PageID #: 625


AO 247 (Rev. 11/11 ) Order Regarding Moti on fo r Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)          Page 1 of2 (Page 2 Not for Publi c Disclos ure)


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                          Western District of Arkansas

                    United States of America
                                v.                                            )
                                                                              ~   Case No:       5:11 CR50115-005
                         CESAR GUZMAN
                                                                              )   USM No : 10787-010
                                                       09/18/2012
                                                                                                 -----------------
Date of Origina I Judgment:                       )
Date of Prev ious Amended Judgment: - - - - - - - )                               Bruce D. Eddy
(Use Date of Last Amended Judgment if Any)                                        Defendant 's Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)

        Upon motion of          0
                              the defendant              D
                                                 the Director of the Bureau of Prisons                          D
                                                                                              the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commiss ion pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and takin g into account the policy statement set forth at USSG § I BI . I 0
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are app li cable,
IT IS ORDERED that the motion is:
          0DENIED.             !ZJGRANTED and the defendant's prev iously imposed sentence of imprisonment (as reflected in
the last judgment issued) of      121                     months is reduced to 120 months
                                                                                                          -----------~


                                               (Comple te Parts I and 11 of Page 2 when motion is granted)




                                                                                                          Judge's signature

Effective Date:               11/01/2015                                    Honorable Timothy L. Brooks, United States District Judge
                    ----:--::-:---:c:-------:-----
                     (if different from order date)                                                   Printed name and title
